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 6
                          UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9    BRAIDEN GOEDHART                     CASE No.:
10                 Plaintiff,
11                                         PLAINTIFF’S COMPLAINT FOR
            v.                             DAMAGES
12
      CITY OF BEAUMONT; and DOES           1. 42 U.S.C. § 1983 (Unreasonable
13                                            Detention and Arrest)
      1-10, inclusive,
14                                         2. 42 U.S.C. § 1983 (Unreasonable
                   Defendants.                Search and Seizure – Excessive Force)
15                                         3. 42 U.S.C. § 1983 (Municipal Liability
16                                            – Unconstitutional Custom, Practice,
                                              or Policy)
17                                         4. 42 U.S.C. § 1983 (Municipal Liability
18                                            – Failure to Train)
                                           5. 42 U.S.C. § 1983 (Municipal Liability
19                                            – Ratification)
20                                         6. Battery
                                           7. Negligence
21                                         8. Violation of Cal. Civil Code § 52.1
22
                                           DEMAND FOR JURY TRIAL
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 1                          COMPLAINT FOR DAMAGES
 2         COMES NOW, Plaintiff BRAIDEN GOEDHART for his Complaint against
 3   CITY OF BEAUMONT and DOES 1-10, inclusive and hereby alleges as follows:
 4
 5                                 INTRODUCTION
 6         1.    This civil rights action seeks compensatory and punitive damages
 7   from Defendants for violating various rights under the United States
 8   Constitution and California law in connection with the use of excessive and
 9   unreasonable force against PLAINTIFF on January 14, 2023.
10         2.    Defendants DOES 1-6, inclusive, (“DOE OFFICERS”) caused
11   PLAINTIFF’S injuries when they rammed their vehicle into, and repeatedly
12   fired lethal weapons at, the vehicle in which Plaintiff was a passenger.
13         3.    DOE OFFICERS caused various injuries herein by integrally
14   participating or failing to intervene in the incident, and by engaging in other
15   acts and/or omissions around the time of the incident.
16         4.    Defendants CITY OF BEAUMONT and DOES 7-10, inclusive,
17   also caused various injuries and are liable under federal law and under the
18   principles set forth in Monell v. Department of Social Services, 436 U.S. 658
19   (1978).
20         5.    This action is in the public interest as PLAINTIFF seeks by means
21   of this civil rights action to hold accountable those responsible for the serious
22   emotional distress and bodily injury inflicted by DEFENDANTS and CITY
23   OF BEAUMONT’S ratification, failure to train, and policy of inaction in the
24   face of serious constitutional violations, as well as the unlawful custom and
25   practice with respect to the use of force.
26         6.    PLAINTIFF suffered serious emotional distress and bodily injury
27   as a direct and proximate result of the actions and inactions of DEFENDANTS
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 1   CITY OF BEAUMONT and DOES 1-10, inclusive. DEFENDANTS CITY OF
 2   BEAUMONT and DOES 1-10, inclusive, are directly liable for PLAINTIFF’S
 3   injuries under federal law pursuant to 42 U.S.C. § 1983. DEFENDANT CITY
 4   OF BEAUMONT is also vicariously liable for the acts and omissions of
 5   DEFENDANTS DOES 1-10, inclusive, pursuant to Cal. Govt. Code §§ 820
 6   and 815(a).
 7
 8                                   THE PARTIES
 9         7.      At all relevant times, PLAINTIFF was an individual residing in
10   Riverside County, California.
11         8.      Defendant CITY OF BEAUMONT (“CITY”) is a political
12   subdivision of the State of California that is within this judicial district. CITY
13   is responsible for the actions, omissions, policies, procedures, practices, and
14   customs of its various agents and agencies, including the Beaumont Police
15   Department and its agents and employees. At all relevant times, Defendant
16   CITY was responsible for assuring that actions, omissions, policies,
17   procedures, practices, and customs of the Beaumont Police Department and its
18   employees and agents complied with the laws of the United States and the
19   State of California.    At all relevant times, CITY was the employer of
20   Defendant DOE OFFICERS.
21         9.      Defendants DOE OFFICERS were officers working for the
22   Beaumont Police Department. At all relevant times, DOE OFFICERS were
23   acting under color of law within the course and scope of their duties as officers
24   working for the Beaumont Police Department. At all relevant times, DOE
25   OFFICERS were acting with the complete authority and ratification of their
26   principal, CITY OF BEAUMONT.
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                                  COMPLAINT FOR DAMAGES
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 1         10.   Defendants DOES 7-10, inclusive, are managerial, supervisorial,
 2   or policymaking employees of the Beaumont Police Department who were
 3   acting under color of law within the course and scope of their duties as
 4   supervisorial officers    for the Beaumont        Police Department      (“DOE
 5   Supervisors”). DOE Supervisors were acting with the complete authority of
 6   their principal, CITY.
 7         11.   PLAINTIFF is ignorant of the true names and capacities of
 8   Defendants DOES 1-10, inclusive, and therefore sues these defendants by such
 9   fictitious names. PLAINTIFF will amend the complaint to allege the true
10   names and capacities of those defendants when the same has been ascertained.
11   PLAINTIFF is informed, believes, and on that basis alleges, that DOES 1-10,
12   inclusive, and each of them, are responsible in some manner for the
13   occurrences alleged herein and proximately caused PLAINTIFF’S damages.
14         12.   On information and belief, DOES 1-10, inclusive, were at all
15   relevant times residents of the County of Riverside.
16         13.   PLAINTIFF is informed and believes, and on that basis alleges,
17   that Defendants acted at all times mentioned herein as the actual and/or
18   ostensible agents, employees, servants, or representatives of each other and,
19   in doing the activities alleged herein, acted within the scope of their authority
20   as agents and employees, and with the permission and consent of each other.
21         14.   PLAINTIFF is informed and believes, and on that basis alleges,
22   that at all times mentioned herein all Defendants acted under color of law,
23   statute, ordinance, regulations, customs and usages of the State of California
24   and CITY.
25         15.   All Defendants who are natural persons are sued individually
26   and/or in his/her capacity as officers, deputies, investigators, sergeants,
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                                  COMPLAINT FOR DAMAGES
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 1   captains, commanders, supervisors, and/or civilian employees, agents, policy
 2   makers, and representatives of the Beaumont Police Department.
 3           16.   DEFENDANT        CITY     is   liable for the nonfeasance and
 4   malfeasance of DOE OFFICERS for the state law claims herein pursuant to
 5   Cal. Govt. Code §§ 815.2(a), 815.6. Further, DOE OFFICERS are liable for
 6   their nonfeasance and malfeasance pursuant to Cal. Govt. Code § 820(a).
 7           17.   PLAINTIFF suffered serious emotional distress and bodily injury
 8   as a direct and proximate result of the actions of Defendants DOE OFFICERS.
 9   Defendants DOE OFFICERS are directly liable for PLAINTIFF’S injuries
10   under federal law pursuant to 42 U.S.C. § 1983.
11           18.   On July 6, 2023, PLAINTIFF timely mailed a claim for damages
12   to the CITY pursuant to applicable sections of the California Government
13   Code.
14           19.   On August 15, 2023, PLAINTIFF’S claim was deemed rejected
15   pursuant to applicable sections of the California Government Code.
16
17                            JURISDICTION AND VENUE
18           20.   The Court has jurisdiction over PLAINTIFF’S claims pursuant to
19   28 U.S.C. §§ 1331 and 1343(a)(3)-(4) because PLAINTIFF asserts claims
20   arising under the laws of the United States, including 42 U.S.C. § 1983 and
21   the Fourth Amendment of the United States Constitution. The Court has
22   jurisdiction over PLAINTIFF’s state law claims pursuant to 28 U.S.C. § 1367.
23           21.   Venue in this judicial district is proper pursuant to 28 U.S.C.
24   § 1391(b), because all incidents, events, and occurrences giving rise to this
25   action occurred within this district.
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                                   COMPLAINT FOR DAMAGES
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 1               FACTS COMMON TO ALL CLAIMS FOR RELIEF
 2         22.   PLAINTIFF repeats and re-alleges each and every allegation of
 3   paragraphs 1 through 21, inclusive, as if fully set forth herein.
 4         23.   On January 14, 2023, Plaintiff accompanied two of his friends,
 5   Garrett Blackwell (“Blackwell”) and James Pietronico (“Pietronico”), on an
 6   off-roading excursion, an activity they had partook in multiple times before.
 7   This particular excursion occurred near Beaumont, California, while
 8   PLAINTIFF was in the back seat of the vehicle, Blackwell was driving, and
 9   Pietronico was in the other front seat.
10         24.   While PLAINTIFF, Blackwell, and Pietronico were driving back
11   home, a Beaumont Police Department vehicle began to pursue them.
12         25.   On information and belief, the three had not committed any crime
13   and had been driving on public land.
14         26.   As the BPD vehicle was pursuing the three, the vehicle Blackwell
15   was operating drove into a cul-de-sac.
16         27.   On information and belief, while in the cul-de-sac, a Beaumont
17   Police Department vehicle crashed into the vehicle in which PLAINTIFF was
18   a passenger.
19         28.   On information and belief, while PLAINTIFF and his friends were
20   not a threat to the officers or any other person, were unarmed, and were not
21   committing any crime, DOE OFFICERS aimed their weapons at the three.
22         29.   The vehicle in which PLAINTIFF was a passenger did not possess
23   a tinted front windshield, driver’s side window, nor passenger side window.
24   As such, DOE OFFICERS were provided with an unobstructed view into the
25   vehicle.
26         30.   On information and belief, DOE OFFICERS employed deadly
27   force by discharging their firearms at the vehicle in which PLAINTIFF was a
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 1   passenger. PLAINTIFF ducked down in the back seat and when the gunshots
 2   ceased, he looked up and saw Blackwell slumped over the steering wheel.
 3   PLAINTIFF saw Pietronico bleeding profusely.
 4         31.    Though he had done nothing wrong, PLAINTIFF was ordered
 5   from the vehicle at gunpoint and watched as Blackwell was taken naked from
 6   the vehicle and placed on the ground.
 7         32.    On information and belief, DOE OFFICERS had not given any
 8   clear commands to the three, time to comply with any commands had they
 9   given any, nor any warnings that they would employ deadly force prior to them
10   doing so.
11         33.    PLAINTIFF was unarmed. PLAINTIFF made no efforts to escape
12   from the officers and was not being assaultive to the officers. PLAINTIFF
13   never verbally threatened any officer during the encounter, and PLAINTIFF
14   did not present a danger to the officers or anyone else throughout the
15   encounter.
16         34.    Even though PLAINTIFF was not resisting, PLAINTIFF had the
17   right to resist excessive force.
18         35.    PLAINTIFF was subjected to unreasonable and excessive force,
19   inflicted in conscious disregard of PLAINTIFF’S rights, when he was rammed
20   with a vehicle and shot at repeatedly and indiscriminately.
21         36.    As a result of the excessive and unreasonable force, including
22   BPD officers ramming the vehicle and firing repeatedly and indiscriminately
23   into the vehicle, PLAINTIFF suffered an injury to his leg and severe mental
24   and emotional distress.
25         37.    The use of force was excessive and objectively unreasonable
26   under the circumstances, especially because PLAINTIFF did not pose an
27   immediate threat to anyone.
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                                   COMPLAINT FOR DAMAGES
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 1         38.   The conduct of Defendants DOE OFFICERS was in deliberate
 2   indifference to, and in conscious disregard for PLAINTIFF’S rights.
 3         39.   PLAINTIFF seeks damages for his past and future pain and
 4   suffering including impairment and emotional distress related to his injuries,
 5   mental anguish, loss of quality of life, and any medical expenses under these
 6   claims. PLAINTIFF also seeks reasonable attorneys’ fees and costs.
 7
 8                           FIRST CLAIM FOR RELIEF
 9               Unreasonable Detention and Arrest (42 U.S.C. § 1983)
10                (By PLAINTIFF against Defendants DOE OFFICERS)
11          40. PLAINTIFF repeats and re-alleges each and every allegation of
12   paragraph 1 through 39, inclusive, as if fully set forth herein.
13          41. The Fourth Amendment of the United States Constitution
14   guarantees all persons the right to be free from unreasonable detention in
15   violation of their right to privacy. 42 U.S.C. § 1983 provides a private right
16   of action for conduct which violates this right.
17          42. Defendants DOE OFFICERS acted under color of law.
18          43. On January 14, 2023, without cause, Defendants DOE OFFICERS
19   unlawfully stopped the vehicle in which PLAINTIFF was a passenger and
20   detained PLAINTIFF without any reasonable suspicion that PLAINTIFF or
21   the other passengers had committed or were going to commit a crime.
22          44. Defendants DOE OFFICERS detained PLAINTIFF without
23   reasonable suspicion nor probable cause.           After the vehicle in which
24   PLAINTIFF was a passenger was forcibly stopped without cause, PLAINTIFF
25   was ordered outside the vehicle at gunpoint and detained.
26          45. The     conduct    of   Defendants      DOE    OFFICERS    violated
27   PLAINTIFF’S right to be free from unreasonable search and seizure, which is
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 1   guaranteed to him by the Fourth Amendment to the United States Constitution
 2   and applied to state actors by the Fourteenth Amendment.
 3          46. The conduct of Defendants DOE OFFICERS was in deliberate
 4   indifference to, and in conscious disregard of, PLAINTIFF’S rights.
 5          47. As a result of Defendants DOE OFFICERS’ conduct, Defendants
 6   DOE OFFICERS are liable to PLAINTIFF for PLAINTIFF’S injuries by either
 7   integrally participating or failing to intervene in the incident and by also
 8   engaging in other acts and/or omissions around the time of the incident.
 9          48. On information and belief, the conduct of Defendants DOE
10   OFFICERS was willful, wanton, and done with reckless disregard for the
11   rights and safety of PLAINTIFF and therefore warrants the imposition of
12   exemplary and punitive damages as to Defendants DOE OFFICERS.
13          49. Because of the unreasonable detention and arrest of PLAINTIFF,
14   PLAINTIFF’S constitutional rights are violated. As a result, Defendants DOE
15   OFFICERS are liable for violating those rights and are liable for
16   PLAINTIFF’S severe pain and suffering for which he is entitled to recover
17   damages.
18          50. PLAINTIFF brings this claim and seeks damages for his past and
19   future pain and suffering, loss of enjoyment of life, medical expenses, and loss
20   of earning capacity under this claim.
21          51. PLAINTIFF also seeks attorney’s fees and costs under this claim.
22
23                          SECOND CLAIM FOR RELIEF
24      Unreasonable Search and Seizure – Excessive Force (42 U.S.C. § 1983)
25                (By PLAINTIFF against Defendants DOE OFFICERS)
26         52.   PLAINTIFF repeats and re-alleges each and every allegation of
27   paragraphs 1 through 51, inclusive, as if fully set forth herein.
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                                  COMPLAINT FOR DAMAGES
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 1         53.    The Fourth Amendment of the United States Constitution, as
 2   applied to State Actors by the Fourteenth Amendment, provides the right of
 3   every person to be free from the use of excessive force by police officers.
 4         54.    When Defendants DOE OFFICERS employed deadly force by
 5   both ramming their vehicle into, and discharging their firearms at, the vehicle
 6   in which PLAINTIFF was a passenger, neither PLAINTIFF nor the vehicle in
 7   which he was passenger posed an immediate and serious threat to the safety
 8   of the officers.
 9         55.    On information and belief, neither PLAINTIFF nor his fellow
10   vehicle passengers had physically threatened any person or had verbally
11   threatened any person, including DEFENDANTS.
12         56.    On information and belief, neither PLAINTIFF nor his fellow
13   vehicle passengers were armed, were attempting to evade detention or arrest,
14   were resisting detention or arrest, were assaultive, or had attempted to harm
15   any officers or any others.
16         57.    Thus, as neither PLAINITFF nor his fellow vehicle passengers
17   posed an immediate threat to the safety of the officers, for the above-
18   mentioned reasons, the officers’ ramming of their vehicle into, and the
19   repeated firing of lethal weapons at, the vehicle in which PLAINTIFF was a
20   passenger was unwarranted, excessive, and unnecessary as there were
21   reasonable, less intrusive options available to Defendants DOE OFFICERS.
22         58.    Defendants DOE OFFICERS caused various injuries herein by
23   integrally participating or failing to intervene in the use of excessive force.
24   Defendants DOE OFFICERS’s acts and omissions deprived PLAINTIFF of
25   his right to be secure in his person against unreasonable searches and seizures
26   as guaranteed to PLAINTIFF under the Fourth Amendment to the United
27   States Constitution and applied to State Actors by the Fourteenth Amendment.
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 1         59.   As a direct result of the aforesaid acts and omissions of
 2   Defendants DOE OFFICERS, PLAINTIFF suffered great mental and physical
 3   injury, fear and emotional distress related to DEFENDANTS’ use of excessive
 4   force, and loss of his earning capacity in an amount according to proof.
 5         60.   The conduct of Defendants DOE OFFICERS was in deliberate
 6   indifference to, and in conscious disregard of, PLAINTIFF'S rights.
 7         61.   The conduct of Defendants DOE OFFICERS alleged above was
 8   willful, wanton, malicious, and done with reckless disregard for the rights and
 9   safety of PLAINTIFF and warrants the imposition of exemplary and punitive
10   damages in an amount according to proof.
11         62.   Defendants DOE OFFICERS were acting under color of state law
12   and within the course and scope of their employment as officers for the CITY
13   OF BEAUMONT.
14         63.   PLAINTIFF seeks damages for his past and future pain and
15   suffering, loss of enjoyment of life, medical expenses, and loss of earning
16   capacity under this claim.
17         64.   PLAINTIFF also seeks attorneys’ fees and costs under this claim.
18
19                           THIRD CLAIM FOR RELIEF
20   Municipal Liability – Unconstitutional Custom, Practice, or Policy (42 U.S.C.
21                                       § 1983)
22     (By PLAINTIFF against CITY OF BEAUMONT; and DOES 7-10, inclusive)
23         65.   PLAINTIFF repeats and re-alleges each and every allegation of
24   paragraphs 1 through 64, inclusive, as if fully set forth herein.
25         66.   Defendants DOE OFFICERS acted under color of state law.
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 1         67.   Defendants DOE OFFICERS acted pursuant to an expressly
 2   adopted fiscal policy or longstanding practice or custom of DEFENDANTS
 3   CITY OF BEAUMONT and DOES 7-10, inclusive.
 4         68.   The conduct of Defendants DOE OFFICERS was in deliberate
 5   indifference to, and in conscious disregard of, PLAINTIFF'S rights.
 6         69.   On information and belief, Defendants DOE OFFICERS were not
 7   disciplined, reprimanded, retrained, suspended, or otherwise penalized in
 8   connection with deprivation of PLAINTIFF’S rights.
 9         70.   DEFENDANTS CITY OF BEAUMONT and DOES 7-10,
10   inclusive, together with other CITY policymakers and supervisors,
11   maintained, inter alia, the following unconstitutional customs, practices, and
12   policies:
13               (a)   Using excessive and unreasonable force, including deadly
14         force on unarmed persons who do not pose an immediate risk of death
15         or serious bodily injury to others;
16               (b)   Providing inadequate training regarding the use of force;
17               (c)   Providing inadequate training regarding de-escalation;
18               (d)   Employing and retaining as police officers, individuals such
19         as Defendants DOE OFFICERS, who DEFENDANT CITY OF
20         BEAUMONT and DOES 7-10, inclusive, at all times material herein,
21         knew or reasonably should have known had dangerous propensities for
22         abusing their authority and for using excessive force;
23               (e)   Inadequately supervising, training, controlling, assigning,
24         and disciplining CITY officers, and other personnel, including
25         Defendants DOE OFFICERS who CITY OF BEAUMONT knew or in
26         the exercise of reasonable care should have known, had the
27         aforementioned propensities or character traits;
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 1               (f)       Maintaining grossly inadequate procedures for reporting,
 2         supervising, investigating, reviewing, disciplining, and controlling
 3         misconduct by deputies of the CITY OF BEAUMONT;
 4               (g)       Failing to adequately discipline CITY OF BEAUMONT
 5         officers for the above-mentioned categories of misconduct, including
 6         inadequate discipline and “slaps on the wrist,” discipline that is so slight
 7         as to be out of proportion with the magnitude of the misconduct, and
 8         other inadequate discipline that is tantamount to encouraging
 9         misconduct;
10               (h)       Encouraging, accommodating, or facilitating a “blue code
11         of silence,” “blue shield,” “blue wall,” “blue curtain,” “blue veil,” or
12         simply “code of silence,” pursuant to which officers do not report other
13         officers’ errors, misconduct, or crimes. Pursuant to this code of silence,
14         if questioned about an incident of misconduct involving another officer,
15         while following the code, the officer being questioned will claim
16         ignorance of the other officer’s wrongdoing.
17         71.   By reason of the aforementioned acts and omissions, PLAINTIFF
18   has endured substantial pain and suffering.
19         72.   DEFENDANTS CITY OF BEAUMONT and DOES 7-10,
20   inclusive, together with various other officials, whether named or unnamed,
21   had either actual or constructive knowledge of the deficient policies, practices
22   and customs alleged herein. Despite having knowledge as stated above, these
23   DEFENDANTS condoned, tolerated, and through actions and inactions
24   thereby ratified such policies. Said DEFENDANTS also acted with deliberate
25   indifference to the foreseeable effects and consequences of these policies with
26   respect to the constitutional rights of PLAINTIFF and other individuals
27   similarly situated.
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 1           73.     By perpetrating, sanctioning, tolerating, and ratifying the
 2   outrageous conduct and other wrongful acts, DEFENDANTS CITY OF
 3   BEAUMONT and DOES 7-10, inclusive, acted with intentional, reckless, and
 4   callous disregard for the PLAINTIFF’S Constitutional rights. Furthermore,
 5   the policies, practices, and customs implemented, maintained, and tolerated
 6   by DEFENDANTS CITY OF BEAUMONT and DOES 7-10, inclusive, were
 7   affirmatively linked to and were a significantly influential force behind
 8   PLAINTIFF’S injuries.
 9           74.     The acts of each of DEFENDANTS DOES 7-10, inclusive, were
10   willful, wanton, oppressive, malicious, fraudulent, and extremely offensive
11   and unconscionable to any person of normal sensibilities, and therefore
12   warrants imposition of exemplary and punitive damages as to DOES 7-10,
13   inclusive.
14           75.     By reason of the aforementioned acts and omissions of
15   DEFENDANTS CITY OF BEAUMONT and DOES 7-10, inclusive,
16   PLAINTIFF suffered past and future pain and suffering, loss of enjoyment of
17   life, medical expenses, and loss of earning capacity.
18           76.     Accordingly, DEFENDANTS CITY OF BEAUMONT and DOES
19   7-10, inclusive, each are liable for compensatory damages under 42 U.S.C. §
20   1983.
21           77.     PLAINTIFF also seeks attorneys’ fees and costs under this claim.
22
23                             FOURTH CLAIM FOR RELIEF
24                 Municipal Liability for Failure to Train (42 U.S.C. §1983)
25                 (By PLAINTIFF against CITY; and DOES 7-10, inclusive)
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 1         78.    PLAINTIFF repeats and re-alleges each and every allegation in
 2   paragraphs 1 through 77, inclusive, of this Complaint with the same force and
 3   effect as if fully set forth herein.
 4         79.    Defendants DOE OFFICERS acted under color of law.
 5         80.    The acts of Defendants DOE OFFICERS deprived PLAINTIFF of
 6   his particular rights under the United States Constitution.
 7         81.    The conduct of Defendants DOE OFFICERS was in deliberate
 8   indifference to, and in conscious disregard of, PLAINTIFF'S rights.
 9         82.    On information and belief, CITY OF BEAUMONT failed to
10   properly and adequately train Defendants DOE OFFICERS, including but not
11   limited to, with regard to the use of physical force.
12         83.    The training policies of DEFENDANT CITY OF BEAUMONT
13   were not adequate to train its officers to handle the usual and recurring
14   situations with which they must deal, including de-escalation techniques and
15   the use of less than lethal and lethal force.
16         84.    Moreover, the training policies of DEFENDANT CITY OF
17   BEAUMONT were not adequate to train its officers to handle the usual and
18   recurring situations with which they must deal, including ensuring traffic stops
19   are legal, and use of force is reasonable and not excessive.
20         85.    DEFENDANT CITY OF BEAUMONT and DOES 7-10,
21   inclusive, were deliberately indifferent to the obvious consequences of its
22   failure to train its officers adequately.
23         86.    The failure of DEFENDANT CITY OF BEAUMONT and DOES
24   7-10, inclusive, to provide adequate training caused the deprivation of
25   PLAINTIFF’S        rights   by    Defendants    DOE     OFFICERS;     that   is,
26   DEFENDANTS’ failure to train is so closely related to the deprivation of
27   PLAINTIFF’S rights as to be the moving force that caused the ultimate injury.
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 1         87.    By reason of the aforementioned acts and omissions, PLAINTIFF
 2   has suffered past and future pain and suffering, loss of enjoyment of life,
 3   medical expenses, and loss of earning capacity.
 4         88.    Accordingly, DEFENDANT CITY OF BEAUMONT and DOES
 5   7-10, inclusive, are liable to PLAINTIFF for compensatory damages under 42
 6   U.S.C. § 1983.
 7         89.    PLAINTIFF also seeks attorneys’ fees and costs of suit.
 8
 9                            FIFTH CLAIM FOR RELIEF
10                 Municipal Liability – Ratification (42 U.S.C. § 1983)
11               (By PLAINTIFF against CITY; and DOES 7-10, inclusive)
12         90.    PLAINTIFF repeats and re-alleges each and every allegation in
13   paragraphs 1 through 89, inclusive, of this Complaint with the same force and
14   effect as if fully set forth herein.
15         91.    Defendants DOE OFFICERS acted under color of law.
16         92.    The conduct of Defendants DOE OFFICERS was in deliberate
17   indifference to, and in conscious disregard of, PLAINTIFF'S rights.
18         93.    The acts of Defendants DOE OFFICERS deprived PLAINTIFF of
19   his particular rights under the United States Constitution.
20         94.    Upon information and belief, a final policymaker, acting under
21   color of law, has a history of ratifying unreasonable uses of force, including
22   deadly force.
23         95.    Upon information and belief, a final policymaker, acting under
24   color of law, had final policymaking authority concerning the acts of
25   Defendants DOE OFFICERS’s and the bases for them. Upon information and
26   belief, the final policymaker knew of and specifically approved of Defendants
27   DOE OFFICERS’s acts.
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 1         96.   On information and belief, CITY OF BEAUMONT final
 2   policymakers, including DOES 7-10, inclusive, knew that PLAINTIFF never
 3   presented a risk of harm to an officer or anyone else and that PLAINTIFF was
 4   always unarmed during the incident and complied with officers’ commands.
 5         97.   On information and belief, the official policies with respect to the
 6   incident are that officers are not to use force against an individual unless the
 7   individual poses an immediate risk of bodily injury to the officers or others .
 8   The officers’ actions deviated from these official policies because PLAINTIFF
 9   did not pose an immediate threat of death or serious bodily injury to the
10   involved officers or anyone.
11         98.   On information and belief, the CITY OF BEAUMONT approved
12   of the officers’ actions after a hearing presented by the officers’ legal counsel
13   to DOES 7-10, inclusive, after which DOES 7-10, inclusive, found the
14   officers’ actions to be within the official policies of the Beaumont Police
15   Department. On information and belief, the basis for such approval was based
16   on the officers’ self-serving statements that they feared PLAINTIFF presented
17   a threat of harm to themselves or others, despite the plethora of evidence to
18   the contrary, including evidence that PLAINTIFF was unarmed, submitted to
19   the officers’ commands when he heard them, and never presented a risk of
20   harm to the officers or anyone else.
21         99.   Upon information and belief, a final policymaker has determined
22   that the acts of Defendants DOE OFFICERS were “within policy.”
23         100. By reason of the aforementioned acts and omissions, PLAINTIFF
24   has and will suffer past and future pain and suffering, loss of enjoyment of
25   life, medical expenses, and loss of earning capacity.
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 1         101. Accordingly, DEFENDANTS CITY OF BEAUMONT and DOES
 2   7-10, inclusive, are liable to PLAINTIFF for compensatory damages under 42
 3   U.S.C. § 1983.
 4         102. PLAINTIFF also seeks attorneys’ fees and costs of suit.
 5
 6                           SIXTH CLAIM FOR RELIEF
 7           Battery (Cal. Govt. Code § 820 and California Common Law)
 8                     (By PLAINTIFF against all DEFENDANTS)
 9         103. PLAINTIFF repeats and re-alleges each and every allegation of
10   paragraphs 1 through 102, inclusive, as if fully set forth herein.
11         104. Defendants DOE OFFICERS while working as officers, sergeants,
12   and in other capacities, for the Beaumont Police Department, and acting within
13   the course and scope of their duties, rammed their vehicle into, and repeatedly
14   shot at, the vehicle in which PLAINTIFF was occupying. As a result of the
15   actions of Defendants DOE OFFICERS, PLAINTIFF was seriously injured.
16   Defendants DOE OFFICERS had no legal justification for using force against
17   PLAINTIFF, and Defendants DOE OFFICERS’s use of force while carrying
18   out their duties as officers was unreasonable under the circumstances.
19         105. At all relevant times, PLAINTIFF was not an immediate threat of
20   bodily injury to anyone, including DEFENDANTS.
21         106. DEFENDANT CITY and DOES 7-10, inclusive, are directly liable
22   and responsible for the acts of Defendants DOE OFFICERS because
23   DEFENDANT CITY and DOES 7-10, inclusive, failed to adequately train,
24   discipline, supervise, or in any other way control Defendants DOE OFFICERS
25   in the exercise of their unlawful use of excessive and unreasonable force.
26         107. DEFENDANT CITY is vicariously liable for the wrongful acts of
27   Defendants DOE OFFICERS pursuant to section 815.2 of the California
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                                  COMPLAINT FOR DAMAGES
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 1   Government Code, which provides that a public entity is liable for injuries
 2   caused by its employees within the scope of the employment if the employees’
 3   acts would subject them to liability.
 4         108. The conduct of Defendants DOE OFFICERS was malicious,
 5   wanton, oppressive, and accomplished with a conscious disregard for the
 6   rights of PLAINTIFF, entitling PLAINTIFF to an award of exemplary and
 7   punitive damages.
 8         109. PLAINTIFF is claiming past and future medical expenses
 9   pursuant to this claim and damages for loss of earning capacity. PLAINTIFF
10   also seeks attorney fees under this claim pursuant to California Code of Civil
11   Procedure § 1021.5.
12
13                         SEVENTH CLAIM FOR RELIEF
14         Negligence (Cal. Govt. Code § 820 and California Common Law)
15                     (By PLAINTIFF against all DEFENDANTS)
16         110. PLAINTIFF repeats and re-alleges each and every allegation of
17   paragraphs 1 through 109, inclusive, as if fully set forth herein.
18         111. Police officers, including DEFENDANTS, have a duty to use
19   reasonable care to prevent harm and injury to others. This duty includes using
20   appropriate tactics, giving appropriate commands, giving appropriate
21   warnings, and not using any force unless necessary, using the least amount of
22   force necessary, and only using deadly force as a last resort. These duties also
23   include providing proper training and equipment to officers so that they may
24   perform their duties in accordance with the department policies, properly
25   investigate use of force incidents, and punish, re-train, terminate, and/or
26   prosecute violators of those policies and the law.
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 1         112. The DEFENDANTS breached their duty of care.                    Upon
 2   information and belief, the actions and inactions of DEFENDANTS were
 3   negligent and reckless, including but not limited to:
 4               (a)   the failure to properly and adequately assess the need to use
 5         force against PLAINTIFF;
 6               (b)   the negligent tactics and handling of the situation with
 7         PLAINTIFF, including actions before the physical attack;
 8               (c)   the negligent scope and manner of the detention, arrest, and
 9         use of force, against PLAINTIFF;
10               (d)   the failure to properly train and supervise employees, both
11         professional   and   non-professional,    including   Defendants    DOE
12         OFFICERS, inclusive;
13               (e)   the failure to ensure that adequate numbers of employees
14         with appropriate education and training were available to meet the needs
15         and protect the rights of PLAINTIFF;
16               (f)   the negligent handling of evidence, witnesses, and the
17         negligent investigation of the use of excessive force against
18         PLAINTIFF; and
19               (g)   the failure to punish, re-train, terminate, and/or prosecute
20         violators of Department policies and the law.
21         113. As a direct and proximate result of DEFENDANTS’ conduct as
22   alleged above, and other undiscovered negligent conduct, PLAINTIFF was
23   caused to suffer severe past and future mental and physical pain and suffering,
24   loss of enjoyment of life, medical expenses, and lost earning capacity.
25         114. At all relevant times, PLAINTIFF was not an immediate threat to
26   anyone, including DEFENDANTS.
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 1         115. The CITY is vicariously liable for the wrongful acts of
 2   DEFENDANTS pursuant to section 815.2(a) of the California Government
 3   Code, which provides that a public entity is liable for the injuries caused by
 4   its employees within the scope of the employment if the employees’ act would
 5   subject him or her to liability.
 6         116. PLAINTIFF seeks attorneys’ fees under this claim pursuant to
 7   California Code of Civil Procedure § 1021.5.
 8
 9                          EIGHTH CLAIM FOR RELIEF
10         (Violation of Cal. Civ. Code § 52.1 and California Common Law)
11                     (By PLAINTIFF against all DEFENDANTS)
12         117. PLAINTIFF repeats and re-alleges each and every allegation in
13   paragraphs 1 through 116, inclusive, of this Complaint with the same force
14   and effect as if fully set forth herein.
15         118. The Bane Act, the California Constitution and California common
16   law prohibit the use of excessive force by law enforcement. California Civil
17   Code, Section 52.1(b) authorizes a private right of action and permits survival
18   actions for such claims. See Bay Area Rapid Transit Dist. v. Superior Court,
19   38 Cal.App.4th 141, 144 (1995). “[A] successful claim for excessive force
20   under the Fourth Amendment provides the basis for a successful claim under
21   § 52.1.” Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1105-06 (9th Cir.
22   2014); citing Cameron v. Craig, 713 F.3d 1012, 1022 (9th Cir. 2013) (“[T]he
23   elements of the excessive force claim under § 52.1 are the same as under §
24   1983.”); Bender v. Cnty. of L.A., 217 Cal.App.4th 968, 976 (2013) (“an
25   unlawful [seizure]—when accompanied by unnecessary, deliberate and
26   excessive force—is [] within the protection of the Bane Act”).
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 1          119. DEFENDANTS violated PLAINTIFF’S Fourth Amendment
 2   rights to be free from unreasonable seizures when they used excessive and
 3   unreasonable force against him.         DEFENDANTS specifically intended to
 4   violate PLAINTIFF’S constitutional rights as stated above, as demonstrated
 5   by DEFENDANT’S reckless disregard for PLAINTIFF’S constitutional
 6   rights. Thus, PLAINTIFF can recover for violation of the Bane Act. See
 7   Reese v. County of Sacramento, 888 F.3d 1030, 1040-45 (2018).
 8          120. On January 14, 2023, while not presenting an immediate or serious
 9   threat to the safety of the officers or any other person, Defendants DOE
10   OFFICERS rammed their vehicle into, and repeatedly fired lethal weapons at,
11   the vehicle in which PLAINTIFF was an occupant.
12          121. DEFENDANTS violated PLAINTIFF’S Constitutional right to be
13   free   from   excessive    and   unreasonable      force      by   police   officers.
14   DEFENDANTS intended to violate PLAINTIFF’S rights and/or acted with
15   reckless disregard with regard to PLAINTIFF’S Constitutional rights, which
16   is evidence that they intended to violate PLAINTIFF’S rights.
17          122. PLAINTIFF was caused to suffer pain and suffering. The conduct
18   of DEFENDANTS was a substantial factor in causing the harm, losses,
19   injuries, and damages of PLAINTIFF.
20          123. CITY     is   vicariously    liable   for   the    wrongful     acts   of
21   DEFENDANTS pursuant to section 815.2(a) of the California Government
22   Code, which provides that a public entity is liable for the injuries caused by
23   its employees within the scope of the employment if the employee’s acts
24   would subject him or her to liability.
25          124. The conduct of the individual DEFENDANTS was malicious,
26   wanton, oppressive, and accomplished with a conscious disregard for the
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 1   rights of PLAINTIFF, entitling him to an award of exemplary and punitive
 2   damages. PLAINTIFF also seeks costs and attorneys’ fees.
 3
 4
                                  PRAYER FOR RELIEF
 5
           WHEREFORE, PLAINTIFF, BRAIDEN GOEDHART, requests entry of
 6
     judgment in his favor against CITY OF BEAUMONT, Defendants DOE
 7
     OFFICERS, and DOES 7-10, inclusive, as follows:
 8
           1.    For compensatory damages, according to proof at trial, under federal
 9
                 and State law;
10
           2.    For punitive and exemplary damages against the individual defendants
11
                 in an amount to be proven at trial;
12
           3.    For statutory damages;
13
           4.    For reasonable attorneys’ fees including litigation expenses;
14
           5.    For costs of suit and interest incurred herein; and
15
           6.    For such other and further relief as the Court may deem just and proper.
16
17   Dated: January 26, 2024       LAW OFFICES OF GRECH & PACKER
18
19                                   /s/ Trenton C. Packer
                                     Trenton C. Packer, Esq.
20                                   Attorneys for Plaintiff
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                                  COMPLAINT FOR DAMAGES
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 1                              DEMAND FOR JURY TRIAL
 2             PLAINTIFF hereby submits this demand that this action be tried in front of
 3   a jury.
 4
     Dated: January 26, 2024          LAW OFFICES OF GRECH & PACKER
 5
 6                                     /s/ Trenton C. Packer
                                       Trenton C. Packer, Esq.
 7
                                       Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES
